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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                           CASE NO.

   REDYS PADRON,

            Plaintiff,

   vs.                                                                            COMPLAINT

   AMERICAN SUSHI, LLC, a Florida limited
   liability company, THE SUSHI SPOT, LLC, a
   Florida limited liability company, and WALTER
   ZAPATA, an individual,

         Defendants.
   ________________________________________/


                                               COMPLAINT

          COMES NOW Plaintiff REDYS PADRON (“Plaintiff” or “Padron”), who was an

  employee of Defendants AMERICAN SUSHI, LLC, d/b/a Obba Sushi, a Florida limited liability

  company (“American Sushi”), THE SUSHI SPOT, LLC, d/b/a Obba Sushi & More, a Florida

  limited liability company (“Sushi Spot”), and WALTER ZAPATA, an individual (“Zapata”)

  (together, “Defendants”), and files this Collective Action Complaint for unpaid minimum wage

  compensation, unpaid overtime wage compensation, liquidated damages, and other relief under

  the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, et seq. (hereinafter, the “Act” or

  “FLSA”), 29 C.F.R. § 531.35, and for a declaration of rights.

  1. This action is brought pursuant to the FLSA for unpaid minimum wage compensation,

      unpaid overtime wage compensation, liquidated damages, and other relief.

  2. Additionally, Plaintiff seeks a declaration of rights pursuant to Rule 57 of the Federal Rules

      of Civil Procedure and the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. § 2201.

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                                    II.   JURISDICTION AND VENUE

  3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because Defendants transact business in

      this District; because all wages were earned and due to be paid in this District; because

      Defendants’ restaurant is situated in this District; and because most, if not all, of the

      operational decisions were made in this District.

  4. This Court has original jurisdiction over Plaintiff’s federal question claims.

                                              III.    PARTIES

  5. Plaintiff REDYS PADRON (“Padron”) is over 18 years old and was a sui juris resident of

      Miami-Dade County, Florida, at all times material. He was an hourly, non-exempt employee

      of Defendants, as the term “employee” is defined by 29 U.S.C. § 203(e).

  6. Defendant AMERICAN SUSHI, LLC is a Florida limited liability company that has owned

      and operated Obba Sushi restaurant (“Obba Sushi”), located at 200 Southeast 15th Road,

      Miami, Miami-Dade County, Florida.

  7. Defendant THE SUSHI SPOT, LLC is a Florida limited liability company that has owned

      and operated Obba Sushi & More restaurant (“Obba Sushi & More”), located at 2525 Ponce

      de Leon Boulevard, Coral Gables, Miami-Dade County, Florida.

  8. Defendant WALTER ZAPATA (“ZAPATA”), an individual and sui juris, was the owner and

      manager of Obba Sushi and Obba Sushi & More (together, “Obba”), the restaurants at which

      Plaintiff was employed. ZAPATA acted directly and indirectly in the interest of Obba.

      ZAPATA managed Obba and had the power to direct employees’ actions. ZAPATA had

      management responsibilities, degree of control over Obba’s financial affairs and

      compensation practices, and was in a position to exert substantial authority over policy

      relating to employee wages and whether to compensate (or not to compensate) employees at
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      the Restaurant in accordance with the FLSA making Defendant WALTER ZAPATA an

      employer pursuant to 29 USC § 203(d).

                                            IV.     COVERAGE

  9. During all material times, Defendant AMERICAN SUSHI, LLC was an enterprise covered

      by the FLSA, and as defined by 29 U.S.C. § 203(r) and 203 (s), in that it was engaged in

      commerce or in the production of goods for commerce within the meaning of § 29 U.S.C.

      203(s)(1) of the Act, in that the enterprise had employees engaged in commerce or in the

      production of goods for commerce, or employees handling, selling, or otherwise working on

      goods or materials that have been moved in or produced for commerce by any person.

  10. During all material times, Defendant THE SUSHI SPOT, LLC was an enterprise covered by

      the FLSA, and as defined by 29 U.S.C. § 203(r) and 203 (s), in that it was engaged in

      commerce or in the production of goods for commerce within the meaning of § 29 U.S.C.

      203(s)(1) of the Act, in that the enterprise had employees engaged in commerce or in the

      production of goods for commerce, or employees handling, selling, or otherwise working on

      goods or materials that have been moved in or produced for commerce by any person.

  11. During all material times, Defendants were employers as defined by 29 U.S.C. § 203(d).

  12. During all material times, Defendants had an annual gross volume of sales made or business

      done of not less than $500,000 (exclusive of excise taxes at the retail level which are

      separately stated).

                                  V.       FACTUAL ALLEGATIONS

  13. Defendants operated restaurants known as Obba Sushi, located at 200 Southeast 15th Road,

      Miami, Miami-Dade County, Florida and Obba Sushi & More, located at 2525 Ponce de

      Leon Boulevard, Coral Gables, Miami-Dade County, Florida.
                                              3
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  14. Padron worked as a tipped employee (“server”) for Defendants from March, 2015,

      approximately, to March, 2016. As the maximum statute of limitations under the FLSA is

      three years, the Relevant Time Period is between April 29, 2013 and April 29, 2016.

  15. During the Relevant Time Period, the applicable Florida minimum wage was $7.79 per hour

      in 2013, $7.93 per hour in 2014, and $8.05 per hour in 2015 and 2016.

  16. During the Relevant Time Period, the applicable Florida minimum overtime wage was

      $11.685 per hour in 2013, $11.895 per hour in 2014, and $12.075 per hour in 2015 and 2016.

  17. Under the FLSA, if an employer satisfies the requirements of 29 U.S.C. 203(m), it may apply

      a portion of a tipped employee’s tips (this portion known as the “tip credit”) up to a

      maximum of $3.02 per hour in Florida towards satisfaction of its obligation to pay its

      employees the minimum wage. This tip credit may apply to both regular and overtime hours

      worked. The burden is on the employer to prove they are entitled to apply the tip credit.

  18. To utilize the tip credit under the FLSA, the employer must pay its servers the proper

      minimum and overtime wage for servers and allow its servers to retain all the tips they

      receive, except when there is a valid arrangement for “pooling of tips among employees who

      customarily and regularly receive tips.” 29 U.S.C. § 203(m). If an employer fails to satisfy

      either requirement, it may not take advantage of the tip credit and must pay its servers the full

      applicable minimum and overtime wage.

  19. Plaintiff was required to share his tips with employees who worked positions that were not

      customarily and regularly tipped (“non-tipped employees”), such as management, cooks and

      cashiers, in an illegal tip-sharing scheme in violation of the Act.




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  20. The tips paid by Plaintiff to non-tipped employees were kick-backs paid to others for

      Defendants’ benefit, and thus lowered the Plaintiff’s wages, free and clear, below the

      minimum for servers. 29 C.F.R. § 531.35.

  21. Throughout his employment, Plaintiff regularly worked in excess of forty (40) hours per

      seven-day week.

  22. Plaintiff was not paid at the overtime rate because Defendants would require him to shuttle

      between locations to avoid overtime.

  23. As the result of the above violations, Defendants did not satisfy the requirements of 29

      U.S.C. 203(m) during the Relevant Time Period and thus cannot apply Plaintiff’s tips

      towards satisfaction of Defendants’ minimum wage obligation, and must therefore pay

      Plaintiff the minimum wage, free and clear, for each regular hour worked and the overtime

      wage, free and clear, for each overtime hour worked.

  24. Because of the institution and maintenance of the illegal tip-sharing scheme and tip credit

      violations, scheduling Plaintiff between both locations to attempt to avoid paying overtime,

      and the lack of notice required, Defendants willfully engaged in practices that denied

      Plaintiff the applicable minimum and overtimes wages under the FLSA.

  25. Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for all services

      rendered.

                                        COUNT I
                            FAILURE TO PAY MINIMUM WAGE IN
                         VIOLATION OF THE FLSA, 29 U.S.C. § 201, et seq

  26. Plaintiff reincorporates and re-alleges paragraphs 1 through 25 as though set forth fully

      herein and further alleges as follows:


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  27. Defendants willfully and intentionally forced Plaintiff to participate in an illegal tip-sharing

      scheme in which servers shared their tips with non-tipped employees.

  28. Defendants willfully and intentionally forced Plaintiff to kick-back a portion of his tips

      directly or indirectly to Defendants, or to others for Defendants’ benefit.

  29. Defendants did not provide Plaintiff with the requisite notice for instituting the tip credit

      under the FLSA.

  30. By forcing Plaintiff to share tips with non-tipped employees, to kick-back tips to Defendants,

      and for not providing the required notice under the FLSA, Defendants cannot claim the tip

      credit and therefore owe Plaintiff the full minimum wage, free and clear, for each hour

      worked up to forty hours in a week.

  31. As a direct and proximate result of forcing Plaintiff to share tips with non-tipped employees,

      to kick-back tips to Defendants, and for not providing the required notice under the FLSA,

      Plaintiff has been damaged for one or more weeks of work with Defendants.

          WHEREFORE, Plaintiff REDYS PADRON demands judgment in his favor and against

  Defendants AMERICAN SUSHI, LLC, THE SUSHI SPOT, LLC, and WALTER ZAPATA,

  jointly and severally, as follows:

          a) Award to Plaintiff for payment of all regular hours at the full minimum wage, free

              and clear, for which Defendants claimed the tip credit;

          b) Award to Plaintiff liquidated damages equal to the payment of all regular hours at the

              full minimum wage, free and clear, owed under the FLSA or, if liquidated damages

              are not awarded, then prejudgment interest;

          c) Award to Plaintiff reasonable attorneys’ fees and costs; and

          d) Award such other and further relief as this Court may deem just and proper.
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                                      COUNT II
                   FAILURE TO PAY OVERTIME WAGE COMPENSATION
                     IN VIOLATION OF THE FLSA, 29 U.S.C. § 201, et seq

  32. Plaintiff reincorporates and re-alleges paragraphs 1 through 25 as though set forth fully

      herein and further alleges as follows:

  33. Defendants willfully and intentionally forced Plaintiff to participate in an illegal tip-sharing

      scheme in which servers shared their tips with non-tipped employees.

  34. Defendants willfully and intentionally forced Plaintiff to kick-back a portion of his tips

      directly or indirectly to Defendants, or to others for Defendants’ benefit.

  35. Defendants willfully and intentionally scheduled Plaintiff at both restaurant locations and

      paid all hours over forty in a week at the straight tipped-employee minimum rate.

  36. By forcing Plaintiff to share tips with non-tipped employees, to kick-back tips to Defendants,

      for paying Plaintiff below the overtime wage rate for hours worked in excess of forty per

      week, and for not providing the required notice under the FLSA, Defendants cannot claim the

      tip credit and therefore owe Plaintiff the full overtime wage, free and clear, for each hour

      worked in excess of forty hours in a week.

  37. As a direct and proximate result of forcing Plaintiff to share tips with non-tipped employees,

      to kick-back tips to Defendants, and for not providing the required notice under the FLSA,

      Plaintiff has been damaged for one or more weeks of work with Defendants.

          WHEREFORE, Plaintiff REDYS PADRON demands judgment in his favor and against

  Defendants AMERICAN SUSHI, LLC, THE SUSHI SPOT, LLC, and WALTER ZAPATA,

  jointly and severally, as follows:

          a) Award to Plaintiff for payment of all hours worked in excess of forty per week at the

              full overtime wage, free and clear, for which Defendants claimed the tip credit;
                                                    7
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          b) Award to Plaintiff liquidated damages equal to the payment of all overtime hours at

              the full overtime wage, free and clear, owed under the FLSA or, if liquidated

              damages are not awarded, then prejudgment interest;

          c) Award to Plaintiff reasonable attorneys’ fees and costs; and

          d) Award such other and further relief as this Court may deem just and proper.

                                           COUNT III
                                     DECLARATION OF RIGHTS

  38. Plaintiff reincorporates and re-alleges paragraphs 1 through 25 as though set forth fully

      herein, and further alleges as follows:

  39. Plaintiff and Defendants have a pending dispute under the FLSA, which this Court has

      jurisdiction to decide pursuant to 29 U.S.C. § 1331. The Court also has jurisdiction over

      Plaintiff’s request for a declaration of rights pursuant to 29 U.S.C. §§ 2201, 2202.

  40. Defendants did not rely on a good faith defense in forcing Plaintiff to share tips with non-

      tipped employees, to kick-back tips directly or indirectly to Defendants or to others for

      Defendants’ benefit, or to work for less than the statutory minimum overtime wage for

      servers, under the FLSA.

  41. A declaration of rights would serve the useful purpose of clarifying and settling the legal

      relations at issue.

  42. Plaintiff is currently employed by Defendants.

  43. The entry of a declaration of the rights of the parties herein would afford relief from

      uncertainty, insecurity, and controversy giving rise to this proceeding as affecting Plaintiff

      from Defendants, now and in the future.



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          WHEREFORE Plaintiff REDYS PADRON demands the entry of judgment in his favor

  and against Defendants AMERICAN SUSHI, LLC, THE SUSHI SPOT, LLC, and WALTER

  ZAPATA, jointly and severally, as follows:

          a) Issue declaratory judgment that Defendants’ acts, policies, practices and procedures

              complained of herein violated provisions of the FLSA;

          b) Enjoin Defendants from further violations of the FLSA;

          c) Award Plaintiff reasonable attorneys’ fees and costs;

          d) Award such other and further relief as this Court may deem just and proper.

                                     DEMAND FOR JURY TRIAL

  Plaintiff demands a trial by jury of all issues so triable.

          Respectfully submitted this 4th day of May, 2016.


                                           By:      s/Robert W. Brock II
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                                     CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on May 4, 2016, I electronically filed the foregoing
  document via CM/ECF. I also certify that the foregoing document is being served this day on all
  counsel of record or pro se parties identified in the attached Service in the manner specified,
  either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some other
  manner for those counsel or parties who are not authorized to receive electronic Notices of
  Electronic Filing.

                                           By:      s/Robert W. Brock II
                                                    Robert W. Brock II, Esq.
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         PADRON v. AMERICAN SUSHI, LLC, THE SUSHI SPOT, LLC & ZAPATA
                                   Case No.:

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